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 9                      UNITED STATES DISTRICT COURT
10                   NORTHERN DISTRICT OF CALIFORNIA
11   DUSTIN NEFF,                                 Case No.: 3:22-cv-02518-JD
12   Plaintiff,                                   Hon. Judge James Donato Presiding

13   v.                                           [PROPOSED] ORDER GRANTING
14   SBA Entertainment, LLC, et al.,              JOINT STIPULATION TO APPEAR
                                                  REMOTELY FOR INITIAL CASE
15   Defendants.                                  MANAGEMENT CONFERENCE
16
                                                  [(PROPOSED) ORDER FILED
17                                                CONCURRENTLY HEREWITH]
18
                                                  Hearing Date: October 19, 2023
19                                                Time:         10:00 a.m.
20                                                Courtroom: 11
                                                  Location:     450 Golden Gate Ave.
21                                                              19th Floor
22                                                              San Francisco, CA 94102

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                                       [PROPOSED] ORDER
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 1                               [PROPOSED] ORDER:
 2        Before the Court is Plaintiff Dustin Neff and Defendants SBA
 3 Entertainment, LLC and Goode Enterprise Solutions, Inc.’s Joint Stipulation to

 4 Appear Remotely for the Initial Case Management Conference in this action,

 5 currently set for in-person appearance on October 19, 2023, at 10:00 a.m. For the

 6 reasons set forth in the stipulation, the Court finds good cause to grant the

 7 requested relief.

 8        IT IS SO ORDERED.
 9
10 Dated:                               By:    ________________________________
11                                             Honorable James Donato
                                               United States District Judge
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                                       [PROPOSED] ORDER
